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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                                                            MDL No. 1456
IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE LITIGATION                          Master File No. 01-12257-PBS

                                                            Subcategory No. 06-11337-PBS
                                                            Civil Action No. 08-cv-10852


THIS DOCUMENT RELATES TO:                                   Judge Patti B. Saris
United States of America ex rel. Ven-A-Care of
the Florida Keys, Inc., by and through its principal        Magistrate Judge Marianne B. Bowler
officers and directors, Zachary T. Bentley and
T. Mark Jones v. Actavis Mid Atlantic LLC, et al.



       [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO COMPEL
     THE STATE OF FLORIDA AGENCY FOR HEALTH CARE ADMINISTRATION
                        TO PRODUCE DOCUMENTS

          Upon consideration Defendants’ Motion to Compel the State of Florida to Produce

Documents (the “Motion”), Defendants’ Memorandum and exhibits in support thereof, the

applicable rules and law, and the entire record herein, it is hereby:

          ORDERED that Defendants’ Motion [Docket No.          ] is GRANTED.

          SO ORDERED.



______________                                 _____________________________________
Date                                           The Honorable Marianne B. Bowler
                                               UNITED STATES MAGISTRATE JUDGE




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